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                                                                           FILED
                       UNITED STATES DISTRICT COURT                   May 25, 2021
                      EASTERN DISTRICT OF CALIFORNIA              CLERK, US DISTRICT COURT
                                                                    EASTERN DISTRICT OF
                                                                         CALIFORNIA


UNITED STATES OF AMERICA,                   Case No. 2:21-mj-00076-DB

                Plaintiff,

      v.                                            ORDER FOR RELEASE OF
                                                     PERSON IN CUSTODY
DWIGHT HANEY,

                Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release DWIGHT HANEY,

Case No. 2:21-mj-00076-DB Charge 21 U.S.C. § 841 and 846, from custody for the

following reasons:

                      Release on Personal Recognizance

                      Bail Posted in the Sum of $

                         X   Unsecured Appearance Bond $       50,000.00

                             Appearance Bond with 10% Deposit

                             Appearance Bond with Surety

                             Corporate Surety Bail Bond

                         X   (Other): Conditions as stated on the record

      Issued at Sacramento, California on May 25, 2021 at 2:40 p.m.
